Case 1:04-cv-Oll48-.]DT-STA Document 47 Filed 08/19/05 Page 1 of 3 Page|D 73

    

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IN THE UNITED sTATEs DISTRICT coURT 0 ‘:< y
FoR THE WESTERN DISTRICT oF TENNESSEE 540@ \
EASTERN DIVISION / O-G.
.‘ 110

 

TERRY ABELS as Next Friend and
Guardian Ad Litem for JERRY HUNT,

Plaintiff,

Vs. NO. 1-04-1148
Judge Todd

GENIE INDUSTRIES, ]NC., Magistrate Judge Anderson
WHITE ELECTRICAL CONSTRUCTION CO., JURY DEMANDED
AND RENTAL SERVICE CORPORATION
(ALSO KNOWN AS RSC),

Defendants.

 

ORDER ALLOWING SUBS'I`ITUTION ()F COUNSEL F()R THE DEFENDANT,
WHITE ELECTRICAL CONSTRUCTION CO.

 

Comes now the Defendant, White Electrical Construction Co., and announces to the
Court that Robert D. Flynn With the LaW Firm of Spicer, Flynn & Rudstrom, PLLC, should be
substituted as counsel of record in this cause and placed instead of Reggie E, Keaton With the
Law Firm of Frantz, McConnell & Seymour. This Defendant respectfully requests that the
Court’s records be noted as to this change of counsel

lT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that Robert D. F lynn
with the Law Firm of Spicer, Flynn & Rudstrom, PLLC be, same hereby is, substituted in the
stead ofReggie E. Keaton of the Law Firrn of Frantz, McConnell & Seyrnour as counsel of

record for the Defendant, White Electrical Construction Co.

g 4 /{’v @MM'
Entered this the ' day of 0 , 2005.

HONO ABLE J'AMES D. TODD
Thls document entered on the docket sheet ln compliance

with nme 53 and,-'or_?s (a) FncP on Q 5"¢?2 -05 .
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August 22, 2005 to the parties listed.

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

